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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


JOHN DOE,

               Plaintiff,

                                                         Civil Action 2:17-cv-538
       v.                                                Judge Michael H. Watson
                                                         Magistrate Judge Elizabeth P. Deavers

OHIO WESLEYAN UNIVERSITY,
et al.,

               Defendants.


                                             ORDER

       On June 22, 2017, the Court issued an Order granting Plaintiff’s Motion requesting

permission to use pseudonyms in place of the names of the individual parties and students at

Ohio Wesleyan University. (ECF No. 4.) The Court hereby supplements that Order as follows:

       Plaintiff must file with the Court ex parte and under seal a Complaint and the exhibits

attached thereto bearing his true name WITHIN FOURTEEN (14) DAYS of the date of this

Order. Further, to the extent counsel for Plaintiff has not yet done so, they shall disclose

Plaintiff’s true identity to Defendants’ attorneys. Absent a modification of this Order,

Defendants’ attorneys may disclose Plaintiff’s identity to other Ohio Wesleyan University

attorneys and other legal support staff in connection with their representation of Defendants, but

may not otherwise disclose Plaintiff’s identity or identifying information. Identifying

information contained within a Court filing must be redacted, and the filing party must

contemporaneously file an unredacted copy ex parte and under seal.
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       For good cause shown, Plaintiff’s motion to issue and file summons under seal (ECF No.

7) is GRANTED. Plaintiff is ORDERED to either hand deliver under seal to the Clerk’s office

(to the attention of Scott Miller) a completed summons for Defendant Jane Roe or to email the

completed summons to the Undersigned at Deavers_Chambers@ohsd.uscourts.gov. Once the

completed summons is received, the Clerk is DIRECTED to issue the summons to Defendant

Jane Roe under seal and to file under seal any executed summons to this Defendant. Once Jane

Roe files her response to the Complaint, she and her attorneys too must comply with the

constrictions above with respect to identifying information in her pleadings and other documents

by filing a redacted version publicly and contemporaneously filing an unredated copy ex parte

and under seal.

              IT IS SO ORDERED.


Date: July 27, 2017                                    /s/ Elizabeth A. Preston Deavers
                                                    ELIZABETH A. PRESTON DEAVERS
                                                    UNITED STATES MAGISTRATE JUDGE




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